     Case 7:24-cv-00279-ADA           Document 12-1      Filed 11/14/24       Page 1 of 1




                                          Attachment A

        I, Caroline M. Walters, have been admitted to practice in the following courts:

                         Title of Court                                  Date Admitted
California State Courts (239054)                                  12/9/2005
U.S. District Court, Eastern District of California               2/10/2006
U.S. District Court, Northern District of California              3/3/2006
U.S. District Court, Central District of California               8/13/2007
District of Columbia                                              7/11/2019
New York State Courts (5780739)                                   4/27/2020
U.S. District Court, Northern District of New York (705759)       9/1/2023
U.S. District Court, Southern District of New York (5780739)      10/3/2023
